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             IN THE UNITED ST ATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                        DELTA DIVISION

JAMES LONG
ADC #128713                                                    PLAINTIFF

v.                           No. 2:11-cv-80-DPM

DANNY BURL, East Arkansas
Regional Unit, ADC                                           DEFENDANT

                                  ORDER
     1. Motion for refund, Doc. 8, granted. A James A. Long-housed
at the Pulaski County Detention Facility- filed a § 1983 lawsuit earlier
this year. Long v. Williams, E.D. Ark. No. 4:20-cv-227-JM. Based on
public records, it appears this person was James Albert Long, who is
being held pending trial on criminal charges in Pulaski County Circuit
Court.    When the Court granted the in forma pauperis application in
that new case, copies of the Order were sent not only to the Pulaski
County facility, but also to the ADC Centralized Banking Office and
ADC Compliance Division. Doc. 3 in No. 4:20-cv-227-JM. As a result,
it appears the ADC has created a new $350 lien against the James A.
Long in its custody- James Allen Long, ADC #128713-and begun
withdrawing monthly payments from his prison trust account. This
was an error.
     2. The Court directs the Clerk to refund the $20.00 collected from
James Allen Long, ADC #128713. The Court also directs the Arkansas
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Department of Correction to remove the lien against James Allen Long,
ADC #128713, for Case No. 4:20-cv-227-JM.         Finally, if any further
payments are received from James Allen Long, ADC #128713, in the
meantime, then they should be refunded without further Order of the
Court being required.
     3. The Court directs the Clerk to send a copy of this Order to the
Warden of the Tucker Maximum Security Unit, the ADC Trust Fund
Centralized Banking Office, and the ADC Compliance Division.
     So Ordered.



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                                  D.P. Marshall Jr.
                                  United States District Judge




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